 

 

In the United States Court of Federal Claims

Northern Ca|ifornia

 

Power Agency, et al.
Plaintiff(s),

 

14-817€

Case No.
Thomas C. Whee|er

v' Judge

THE UNITED STATES,

Defendant.

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NOTICE OF APPEAL

the City of Santa C|ara, Ca|ifornia inthe
(list all parties taking the appeal)

Notice is hereby given that

 

above named case hereby appeal to the United States Court of Appeals for the Federal Circuit from
c final judgment dismissing P|aintiffs' amended complaint

(describe document being appealed; e.g. final judgment, order)

July 31, 2018

(filed date of document being appealed)

th entered in this action on

 

 

MM¢~

(Signature of Appellant or Attorney
David T. Ra|ston, Jr.

 

(Printed Name) y

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